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 8
 9                             UNITED STATES DISTRICT COURT
10                       SOUTHERN DISTRICT OF CALIFORNIA
11
12   VICTORIA RIZZOTTO, an individual,              Case No.: 20-cv-00582-BAS-LL
13                Plaintiff,                        MOTION TO (1) SUBSTITUTE
14          v.                                      UNITED STATES OF AMERICA AS
                                                    DEFENDANT IN PLACE OF
15   CENTRO MEDICO, INC. a California               CENTRO MEDICO, INC. AND
     Corporation, BORREGO COMMUNITY                 BORREGO COMMUNITY HEALTH
16   HEALTH FOUNDATION, , a California              FOUNDATION, AND (2) TO
     Corporation and Doing Business as              ESTABLISH TIME TO RESPOND
17   BORREGO HEALTH, and DOES 1                     TO PLAINTIFF’S COMPLAINT
18   through 30, inclusive,
                                                    Date:      April 27, 2020
19                Defendants.                       Courtroom: 4B
                                                    Judge:     Hon. Cynthia Bashant
20
21                                                  NO ORAL ARGUMENT UNLESS
                                                    REQUESTED BY THE COURT
22
23                                             MOTION
24         PLEASE TAKE NOTICE that on April 27, 2020, in Courtroom 4B of the Edward J.
25 Schwartz United States Courthouse, located at 221 West Broadway, San Diego, CA 92101,
26 the UNITED STATES OF AMERICA will and hereby does move for an order (1)
27 substituting the United States as defendant in this action in place of Centro Medico, Inc. and
28 Borrego Community Health Center d/b/a Borrego Health, because Plaintiff’s claims against

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 1 such defendants are precluded pursuant 42 U.S.C. §§ 233 (a) and (g); and (2) establishing
 2 the time for the United States to respond to Plaintiff’s Complaint.
 3                    MEMORANDUM OF POINTS AND AUTHORITIES
 4   I.   INTRODUCTION
 5         On March 26, 2020, the United States removed this action to this U.S. District Court
 6 from the Superior Court of the State of California, County of San Diego. Pursuant to 42
 7 U.S.C. §§ 233 (a) and (g), the United States should now be substituted as defendant in this
 8 action in place of Centro Medico, Inc. and Borrego Community Health Foundation d/b/a
 9 Borrego Health. The United States respectfully requests that once such substitution is
10 effected, the Court issue an order requiring the United States to respond to Plaintiff’s
11 Complaint within 60 days of the March 26, 2020 removal date.
12 II.    ARGUMENT
13             A. The United States Should be Substituted as Defendant in Place of Centro
                  Medico, Inc. and Borrego Community Health Foundation d/b/a Borrego
14                Health.
15
           On or about August 20, 2019, Plaintiff Victoria Rizzotto initiated this action as Case
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     No. 37-2019-00043704-CU-MM-NC in the Superior Court for the State of California,
17
     County of San Diego. See Dkt. 1-2 (Superior Court complaint and filings). Plaintiff named
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     as defendants “Centro Medico, Inc. a California Corporation, and Borrego Community
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     Health Foundation, a California Corporation and Doing Business as Borrego Health, and
20
     DOES 1 through 30, inclusive.” Borrego Community Health Foundation is a federally
21
     supported health center. The correct name of Centro Medico, Inc. is Centro Medico
22
     Escondido, which is an approved service delivery site of Borrego Community Health
23
     Foundation. The Complaint alleges claims for medical negligence.
24
           On March 26, 2020, the United States of America removed this case to the United
25
     States District Court for the Southern District of California under 42 U.S.C. § 233(c). See
26
     Dkt. 1.
27
           Pursuant to 42 U.S.C. §§ 233(g)-(n) of the Federally Supported Health Centers
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 1 Assistance Act, the Secretary of Health and Human Services has deemed Borrego
 2 Community Health Foundation to be an employee of the Public Health Service for purposes
 3 of the Federal Tort Claims Act only, effective January 1, 2017 through the present and at
 4 all times relevant to the Complaint in this action.
 5         The United States Attorney for the Southern District of California, through his
 6 designate, has certified that Borrego Community Health Foundation was acting within the
 7 scope of employment at the time of the incidents alleged in the Complaint, pursuant to 42
 8 U.S.C. § 233(g).       See Dkt. 1-3 (Certification of Scope of Employment, also filed
 9 concurrently with this Motion).
10         For purposes of liability, the torts alleged in the complaint against Centro Medico,
11 Inc. and Borrego Community Health Foundation, d/b/a Borrego Health, are deemed to have
12 been brought against the United States as provided by 28 U.S.C. § 1346 (b). See 42 U.S.C.
13 § 233 (a) and (c). Plaintiff’s remedy against the United States is exclusive of any other civil
14 action or proceeding involving the same subject matter and claims against Centro Medico,
15 Inc. and Borrego Community Health Foundation d/b/a Borrego Health. 42 U.S.C. §§ 233(a)
16 and (g).
17         Centro Medico, Inc. and Borrego Community Health Foundation, d/b/a Borrego
18 Health, are entitled to dismissal, with prejudice, as to the tort claims alleged in the
19 Complaint. The United States should be substituted as defendant in their place.
20           B. The United States Requests an Order Establishing Time to Respond to
                Plaintiff’s Complaint.
21
           Once such substitution is granted, the United States requests that the Court issue an
22
     order specifying and extending the time to respond to Plaintiff’s Complaint pursuant to Rule
23
     6(b)(1) of the Federal Rules of Civil Procedure. Rule 6(b)(1) specifically allows that
24
     “[w]hen an act may or must be done within a specified time, the court may, for good cause,
25
     extend the time . . . if a request is made, before the original time or its extension expires.”
26
     Here, good cause exists for the requested extension of time, and the request is made before
27
     the original time expires.
28

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 1         Ordinarily, in an action originally filed in a federal district court against the United
 2 States, or one its agencies, officers, or employees, in their official capacities, the time for
 3 serving a responsive pleading is set forth in Federal Rules of Civil Procedure 12(a)(2). That
 4 rule affords “60 days after service on the United States Attorney” within which to respond
 5 to the complaint, as opposed to the 21 days generally afforded to non-federal defendants
 6 under the Rule 12(a)(1)(A).
 7         After removal of a state court action to a district court, however, a defendant
 8 ordinarily must respond within the longest of the following periods:
 9               (A) 21 days after receiving—through service or otherwise—a copy of the
10         initial pleading stating the claim for relief;
11               (B) 21 days after being served with the summons for an initial pleading on file
12         at the time of service; or
13               (C) 7 days after the notice of removal is filed.
14 Fed. R. Civ. P. 81(c).
15         Rule 81(c) does not distinguish between cases brought against federal entities and
16 those brought against non-federal defendants. Nor does it prescribe a time to respond
17 where, as here, the United States is not named as a defendant in the Complaint but has filed
18 a motion to be substituted as a defendant.
19         However, Rule 12, in general, gives significantly more time for the United States (or
20 a federal agency) to respond to a complaint than it does for private parties. Compare Fed.
21 R. Civ. P. 12(a)(2) (providing 60 days after service when the United States or its agencies,
22 officers, or employees are involved) with Fed. R. Civ. P. 12(a)(1)(A)(i) (providing 21 days
23 after service for private parties). Further, the Committee Notes to the 2000 Amendments to
24 Rule 12 recognize that when an officer or employee of the United States is sued, the 60 day
25 time period to respond is appropriate, in part because of the necessity of obtaining
26 authorization to represent that officer or employee, and in part because where the United
27 States (or a federal agency) is involved, there is a “need for an extended answer period.”
28         Accordingly, in order to clarify a time to respond to Plaintiff’s Complaint, and to

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 1 ensure that the United States is able to utilize the 60 days normally provided by Rule 12(a)
 2 to prepare its response, the United States respectfully requests that the Court issue an order
 3 establishing that it shall have 60 days from the date of removal to respond to Plaintiff’s
 4 Complaint.
 5   III. CONCLUSION
 6         For the foregoing reasons, the United States respectfully requests that the Court
 7 substitute the United States as defendant in place of Centro Medico, Inc. and Borrego
 8 Community Health Foundation d/b/a Borrego Health, and that such named defendants be
 9 dismissed with prejudice from this action. The United States further requests that the Court
10 issue an order establishing that the United States shall have 60 days from the date of removal
11 to respond to Plaintiff’s Complaint.
12         A proposed Order will be submitted electronically to chambers for the Court’s
13 consideration.
14   DATED: March 27, 2020                         Respectfully,
15                                                 ROBERT S. BREWER, JR.
16                                                 United States Attorney

17                                                 s/ Betsey Boutelle
                                                   BETSEY BOUTELLE
18                                                 Assistant U.S. Attorney
19                                                 Attorneys for the
20                                                 United States of America

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